Case 2:24-cv-04055-JXN-LDW           Document 228        Filed 01/28/25     Page 1 of 3 PageID:
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                                                 Liberty Square Building
                                                 450 5 th Street, N.W.
                                                 Washington, DC 20530

                                                 January 28, 2025

VIA ECF
Honorable Leda Dunn Wettre, U.S.M.J.
U.S. District Court for the District of New Jersey
Martin Luther King Jr. Bldg. & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07102

       Re:     United States of America, et al. v. Apple Inc., No. 2:24-cv-04055 (JXN-LDW)
               Joint Letter Requesting Entry of the [Proposed] Discovery Confidentiality
               Order and the [Proposed] Stipulated Protective Order Governing Review,
               Production, and Handling of Source Code in This Action

Dear Judge Wettre:

        Plaintiffs and Defendant respectfully submit this joint letter seeking entry of (1) the
[Proposed] Discovery Confidentiality Order (attached hereto as Exhibit A) and (2) the [Proposed]
Stipulated Protective Order Governing Review, Production, and Handling of Source Code in this
Action (“Source Code Protocol” attached hereto as Exhibit B).

        Following the Court’s guidance at the hearing on October 10, 2024, the Parties and Non-
Party Intervenors worked together to address and resolve the outstanding issues on both proposed
orders. For the Discovery Confidentiality Order, the Parties and Non-Party Intervenors have
agreed to language governing tiers of disclosure, and the Parties have agreed to language
concerning data security. Per the Court’s suggestion, the Parties adopt a definition of “Party” for
purposes of the Source Code Protocol only. In addition, the Parties have revised the Source Code
Protocol to make express that it applies to the Parties only.


 Respectfully submitted,

 /s/ Jonathan H. Lasken                         /s/ Liza M. Walsh
 Jonathan H. Lasken                             Liza M. Walsh
 Assistant Chief, Civil Conduct Task Force      Douglas E. Arpert
 United States Department of Justice            WALSH PIZZI O’REILLY FALANGA LLP
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Case 2:24-cv-04055-JXN-LDW          Document 228      Filed 01/28/25   Page 2 of 3 PageID:
                                          1969



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Case 2:24-cv-04055-JXN-LDW         Document 228        Filed 01/28/25      Page 3 of 3 PageID:
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   Acting United States Attorney

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   Washington, DC 20530
   Attorney for Plaintiff United States of America

                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

    UNITED STATES OF AMERICA et al.,

                  Plaintiff,
                                                     Case No. 2:24-cv-04055-JXN-LDW
           v.

    APPLE INC.

                  Defendants.

                               CERTIFICATE OF SERVICE

          I hereby certify that the above letter and this Certificate of Service were served

   upon defendant’s counsel, Liza M. Walsh, Esq., Craig S. Primis, Esq., Devora W. Allon,

   Esq., and K. Winn Allen, Esq., 1301 Pennsylvania Avenue, NW, Washington, D.C.,

   20004, by CM/ECF on January 28, 2025.



                                                       BY: s/ Jonathan H. Lasken
                                                       Jonathan H. Lasken
                                                       Assistant Chief
                                                       Civil Conduct Task force
                                                       United States Department of Justice
                                                       Antitrust Division
                                                       Attorney for Plaintiff United States
